Case 6:00-cv-03099-AA

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Frank Eugene Braze
5945 Castle Terrace Dr.
Central Point, Oregon 97502

PROPER PARTY INJURED

UNITED STATES DISTRICT COURT FOR THE DISTRICT OF OREGON __.

 

 

Frank E. Braze
Plaintiff
vs

City of Medford

Medford Police Department
Medford Municipal Court

officer Burchfiel
officer Brent Mak
Denise Bostwick
State of Oregon

United States Government

Judge Haberlath;
Jef E. Faw

Lindsay Berryman dba
"LINDSAY BERRYMAN"

Curt Bennett dba
"CURT BENNETT"
Jim Key dba

"JIM KEY”

Sal Esquivel dba
"SAL ESQUIVEL"
Skip Knight dba
"SKIP KNIGHT"
Matthew Hart dba
"MATTHEW HART"
John Michaels dba
JOHN MICHAELS
Bill Moore dba
"BILL MOORE"
"Michael Dyal"

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INCORPORATED CASENO.OC) - SOY

COMPLAINT

MOTION
THIS CASE IS UNDER THE
JURISDICTION OF "THE AMERICAN
FLAG OF PEACE" OF THE UNITED
STATES OF AMERICA 4USC1
NO ADMIRALTY OR MARITIME

FLAGS OF WAR OR JURISDICTION
ALLOWED IN THIS CASE
PLAINTIFF IS THE MOVING PARTY

UNITED STATES CONSTITUTION

VI AMENDMENT COMMON LAW
JURY TRIAL DEMANDED

[Jury trier of both law and fact]

]
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]
]
]
]
]

Medford Police Department
"Ron Doyle"

Police Chief Eric Mellgren ]
and does 1 through ]
10,000,000,000 inclusive ]

ABBREVIATIONS:
A.U.S.C.= AMENDMENT UNITED STATES CONSTITUTION

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et

 
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U.S.C.= UNITED STATES CODE
U.S.C.A.= UNITED STATES CODE ANNOTATED
PERSON IS REPLACED IN STATUTE DEFINITIONS BY CITIZEN IN PARTY OR INDIVIDUAL

 

 

Civil law or equity law is the law of the ruler;
Common Law is the law of the people.

When Justice Leaves the Courtroom,
Hope Turns Elsewhere

Attorney Steffan Bertsch of Lake Stevens, Washington, author of the book Crisis in Our
Courts: "I am sorry to admit that your writer is correct in that there is little or no
law running the "justice" system; American justice has given way to ignorance,
cowardice and corruption."

 

DEFINITIONS

FRAUD: An intentional perversion of truth, for the purpose of inducing another in
reliance upon it to part with some valuable thing belonging to him or to surrender a legal
right, a false representation of a matter of fact, whether by words or by conduct, by
false or misleading allegations or by concealment of that which should have been
disclosed, which deceives and is intended to deceive another so that he shall act upon it to
his legal injury. Braiinerd Dispatch Newspaper co. v Crow Wing County 196 Minn.
194, 264 N.W. 779, 780.

Any kind of artifice employed by one person to deceive another Goldstein v
Equitable Life Assur. Soc. of U.S. 160 Misc. 364, 289 N.Y.S.1064, 1067

A generic term, embracing all multifarious means which human ingenuity can
devise, and which are resorted to by one individual to get advantage over another by
false suggestions or by suppression of truth, and includes all surprise, trick cunning,
dissembling , and any unfair way by which another is cheated, Johnson v McDonald
170 Okl. 117,39 P2d 150

"Bad faith" and "fraud" are synonymous and also synonymous of dishonesty,
infidelity, faithlessness, perfidy, unfairness, etc. Joiner v Joiner Tex. Civ. App, 87 S.W.
2d 903,914, 915

EXTORTION : Extortion: The obtaining of property from another induced by actual or
threatened force, or fear, or under color of official right. Ref. 18 U.S.C.A. 871et seq.,
L951.

EXTORTIO - [LEGAL] -, Extortion is a crime when, by color of office any person
[or individual] extorts that which is not due, or more than is due, or before the time
when it is due. [see fees]Ref.- U.S.C.A. 18 sec, 1621 5542d a, [emphasis added]

JURISDICTION: The "jurisdiction " of judicial tribunals emanates exclusively from
the constitution and legally enacted statutes of the sovereignty of the forum. Stewart v.
Sampson 148 S.W.2d 278, 280, 281, 285, Ky 447.

"Jur -- "in courts is the power and authority to declare the law. The very word in
its origin comports as much. It is derived from "Juris" and "dicto", I speak by the law. It
is the right of administrating Justice through the laws, by the means which the law has
provided for that purpose Barrs v. State, 97 S.E. 86, 87, 22 Ga. App. 642.

DUE PROCESS OF LAW ~=—s_ Due process of law means, said the Supreme Court in a late
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case (1908), that 'no change in ancient procedure can be made which disregards those
fundamental principles... which... protect the citizen in his private right and guard him
against the arbitrary action of the government."

The due process of law standard for a trial is one in accordance with the Bill of
Rights and laws passed pursuant to constitutional power, guaranteeing to all alike a
irial under the general law of the land. Duncan v. Louisana, 391 U.S. 145; 88 S.Ct. 1444
(1968) [emphasis added]

FRIVOLOUS A pleading is "frivolous when it is clearly insufficient on its face, and
does not controvert the material points of the opposite pleading, and is presumably
interposed for mere purposes of delay or to embarrass the opponent. A claim or defense
is frivolous if a proponent can present no rational argument based on the law or evidence
in support of that claim or defense. Liebowitz v. Aimexco Inc. 701 P2d 140, 142, Blacks
6th page 668.

 

PRELIMINARY STATEMENT
1. The UNITED STATES CONSTITUTION etc. is the Supreme Law of the Land
pursuant to ARTICLE VI, [2] UNITED STATES CONSTITUTION
2. The judges in every state are bound by the United States Constitution, not state
judges, but "in every state", location, not official capacity,
3 ARTICLE VI, [2] UNITED STATES CONSTITUTION: This Constitution, and the Laws

of the United States which shall be made in Pursuance thereof; and all Treaties made,
or which shall be made, under the Authority of the United States, shall be the supreme
Law of the Land; and the Judges in every State shall be bound thereby, any Thing in the
Constitution or Laws of any State to the Contrary notwithstanding. [emphasis added]

4 All legislative, executive and judicial officers, federal and state are bound by oath
or affirmation to support the United States Constitution and the laws made in pursuance
of the United States Constitution

5 UNITED STATES CONSTITUTION: ARTICLE VI, [3] The Senators and Representatives

hefore mentioned, and the Members of the several State Legislatures, and all executive
and judicial Officers, both of the United States and of the several States, shall be bound
by Oath or Affirmation, to support this Constitution [emphasis added]

6 The United States Constitution, the Supreme Law of the Land provides in
Amendment VI that in_all criminal prosecutions, the accused shall enjoy certain rights.

7 Pursuant to Amendment VI, In all criminal prosecutions, the accused shall
enjoy the right to a speedy and public trial, by an impartial jury of the State and district
wherein the crime shall have been committed, which district shall have been previously
ascertained by law, and to be informed of the nature and cause of the accusation; to be
confronted with the witnesses against him; to have compulsory process for obtaining
witnesses in his favor, and to have the Assistance of Counsel for his defense.

7. The courts in their lust for power [have in violation of their oath to support the
Constitution of the United States; Which states in pertinent part that the Constitution of
the United States and the laws made in pursuance of the Constitution of the United

States... is the Supreme law of the land and the judges in every state are bound
thereby not withstanding any state laws to the contrary] reached back into the English
common law to provide the basis for claiming that when the founding fathers stated that in

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all criminal prosecutions the accused is entitled to a jury trial, etc. they didn't know
what they were talking about and excluded what they claim the English common law
called "petty crimes"

8 Article III. Section. 2 Paragraph 2. of the United States Constitution states in
pertinent part: "/n all cases... the supreme Court shall have original Jurisdiction. with
such Exceptions, and under such Regulations as the Congress shall make."" which
puts the lie to the claim that the founders did not mean "petty crimes" when they used the

word all,
9 The framers of the United States Constitution were perfectly capable of making

exceptions and exclusions to the word all in the Constitution when that was their
intention as may be clearly seen from the above section.

10 While the courts may have some basis for using the old English Common Law as
the basis for determining what the Founding Fathers meant where the Constitutional
provision, history and supporting documentation is unclear the VIth Amendment is not
one of those cases. As part of the Supreme law of the land the Constitution is binding not
only on Judges but on every individual in the United States.

11 United States Constitution Article. V1. requires that The Senators and
Representatives before mentioned, and the Members of the several State Legislatures,

and all executive and judicial Officers, both of the United States and of the several
States, shall be bound by Oath or Affirmation, to support this Constitution;

12 The word all means no exclusions for petty executive or judicial officers

13 "When Qny court violates the clean and unambiguous language of the
Constitution, a fraud is perpetrated and no one is bound to obey it." State v. Sutton, 63
Minn. 147 65 NW 262 30 ALR 660. Also see (Watson v. Memphis, 375 US 526; 10 L Ed
529; 83 §.Ct. 1314)

14 Article IH. Section. 2 Paragraph 2. of the United States Constitution clearly

shows that when the framers of the Constitution said all they meant all, the claim that
they excluded "petty crimes" is a fraud ..." and no one is bound to obey it."

15 The courts in order to increase their power through usurpation of the rights of the
people have attempted not only to make the jurors believe the fraud that the determination
of the law is the province of the court but have also attempted to keep from the jurors the
fact that they are entitled to use the power and right of jury nullification if the jury
determines that the law in fact of administration is unjust and is the right of the Jury in
civil, common law cases to determine both law and fact with the power and duty of the
judge limited to advising the Jury on the law.

16 Nullification is the historic, common-law practice by which jurors pass judgment
on the law, as well as the facts of the case before them. Today, trial judges habitually
inform jurors that they may deliberate on the facts only -- that they may never ask, "Is the
law just?" or, "Is the law justly applied to this defendant?"

17 We have reached a point at which "the law is whatever I say it is" -- as long as the
"I" in question is a judge or a prosecutor. Because the appeals system is populated by
members of the same "club," the most outrageous injustices are often upheld.

18 Lord Camden said: 'give to the jury or to the judge the right of trial of the
subjects of this country. You must give it to one of them, and | think you can have no
difficulty which to prefer.’ The bill passed the house of commons in 1791. 29 Parl. Hist.

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Oregon.

35 Defendant Sal Esquivel is a member of the Medford CITY COUNCIL, Jackson
county, Oregon.

36 Defendant Skip Knight is a member of the Medford CITY COUNCIL, Jackson
county, Oregon.

37 Defendant Matthew Hart is a member of the Medford CITY COUNCIL, Jackson
county, Oregon.

38 Defendant John Michaels is a member of the Medford CITY COUNCIL, Jackson
county, Oregon.

39 Defendant Bill Moore is a member of the Medford CITY COUNCIL, Jackson county,
Oregon.

40 Defendant "Michael Dyal" is the Medford CITY MANAGER, Jackson county,
Oregon.

41 Defendant Judge Haberlath; is the Medford Municipal court judge of Jackson
county, Oregon.

42 Defendant "Ron Doyle" is Medford City lawyer, Jackson county, Oregon.

43 Defendant Police Chief Eric Mellgren is Medford police chief, Jackson county,
Oregon.

VIOLATIONS OF LAW

COUNTI
44 Paragraphs 1 through 316 are incorporated by reference.

45 On 5, 12, 2000 Frank Eugene Braze, specifically not "FRANK EUGENE
BRAZE ", [hereafter Braze] was operating a motor vehicle on Riverside street, City of
Medford. when he was arrested by one officer Burchfiel. [hereafter Burchfiel]

46 The individual does not need to be told they are under arrest for that to be the fact.
47 The United States Supreme Court has determined that: Detention of individual
need not be accompanied by formal words of arrest or station house booking in order to
constitute arrest requiring probable cause; arrest occurs whenever police officer accosts
individual and restrains his freedom to walk away. Passman v Blackburn [1981
CASLA]652 F2d 579, cert den 455 U.S. 1022, 72 Led 2d N1, 102 S Ct 1722 [emphasis
added]

48 In the present case freedom to drive away was restrained

49 Burchfiel began questioning Braze as to why Burchfiel had "arrested" Braze.

50 Burchfiel never informed Braze of Braze's rights against self incrimination and
tried to compel Braze to state why .Burchfiel had arrested Braze though the word arrest
was never used

51 The Courts including the United States Supreme Court have determined: that the:
5th Amendment protects individuals from compelled self-incrimination at all times not
just upon arrest or during custodial interrogation State v. Fenci [1982] 109 Wis. 2d 244,
325 N.W. 2d 703.

52 That Privilege against self incrimination not only extends to answers that would
in themselves support conviction, but likewise embraces those which would furnish link in
chain of evidence needed to prosecute. Mallary v. Hogan [1964] 378 U.S. 1, 12 L.Ed.
2d 653, 84 S.Ct 1489

53 And that Privilege against self-incrimination protects accused from being
compelled to incriminate himself in any manner, and does not distinguish degree of

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incrimination. Miranda v. Arizona [1966] 389 U.S. 436, 6 L.Ed. 2d. 694, 86 S.Ct. 1602,
10 Ohio Misc., 36 Ohio Ops. 2d 237, ALR 3d 974..

54 The "OREGON UNIFORM CITATION AND COMPLAINT" [Exhibit A, included by
reference] states in pertinent part "DID THEN AND THERE COMMIT THE FOLLOWING
OFFENSE(S)"_ "[] INTENTIONAL" "[] KNOWING" "[] RECKLESS" "[] CRIMINAL NEGLIGENCE
"[] NO CULPABLE MENTAL STATE"

55 Burchfiel's questioning was for the purpose of determining if the offense(s) was
(were) "{] INTENTIONAL" "|] KNOWING" "[] RECKLESS" "[] CRIMINAL NEGLIGENCE" or done
with "[] NO CULPABLE MENTAL STATE"

56 Burchfiel's questioning was in deprivation of Braze's constitutional rights against
self incrimination pursuant to Amendment V. of the United States Constitution ..." nor
shall be compelled in any criminal case to be a witness against himself,"...

Burchfiel's questioning was in deprivation of Braze's common law rights against self
incrimination as found in the United States Constitution

57 Burchfiel's questioning was in deprivation of Braze's common law rights against
self incrimination pursuant to the laws in pursuit of the United States Constitution,
including Stare Decisis, including those cited above, but not by way of limitation.

38 Burchfiel's questioning constitutes common law trespass against Braze's right
against self incrimination.

59 Burchfiel's questioning was done in deprivation of Braze's common law rights
pursuant to Title 42, USC section 1983.

60 Title 42, USC section 1983. Every person who under color of any statute,
ordinance, regulation, custom or usage of any state or territory or the District of
Columbia, subjects or causes to be subjected, any citizen of the United States or other
individual within the jurisdiction thereof to the deprivation of any rights, privileges or
immunities secured by the Constitution and laws, shall be liable to the party injured in an
action at law, suit in equity or other proper proceeding for redress

él Burchfiel's questioning was done in conspiracy with the Medford Municipal court
which issues the "OREGON UNIFORM CITATION AND COMPLAINT" to its officers and

the State of Oregon which designed and produced the "OREGON UNIFORM CITATION
AND COMPLAINT"

62 Burchfiel's questioning was done in deprivation of Braze's rights pursuant to Title
42 USC section 1985
63 Title 42 USC section 1985 [3] Depriving individuals of rights or privileges. If two
or more persons in any State or territory conspire or go on the highway or on the
premises of another, for the purpose of depriving, either directly or indirectly any
individual for class of individuals] of the equal protection of the laws or of equal
privileges and immunities under the laws,...if one or more persons engaged therein do, or
cause to be done any act in furtherance of the object of such conspiracy, whereby
another is injured in his person or property or deprived of having or exercising any right
or privilege of a citizen of the United States, the party so injured or deprived may have
an action for the recovery of damages, occasioned by such injury or deprivation, against
one or more of the conspirators. 64
Burchfiel's questioning was done as part of the practice, policy and procedures of
the City of Medford, Medford Municipal Court, and the State of Oregon in deprivation of
Braze's rights against self incrimination.
65 Burchfiel's questioning constitutes part of a conspiracy with the City of Medford,
Medford Municipal Court, and the State of Oregon as a common law trespass against

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Braze's rights against self incrimination.
66 Burchfiel's questioning was done as part of a conspiracy with the City of Medford,
Medford Municipal Court, and the State of Oregon against Braze's common law rights as
found in the United States Constitution against self incrimination.
67 Burchfiel's questioning was done as part of a conspiracy with the City of Medford,
Medford Municipal Court, and the State of Oregon against Braze's rights as found in the
laws in pursuance of the United States Constitution, including Stare Decisis, case law
against self incrimination.

COUNT HI

68 Paragraphs 1 through 316 are incorporated by reference.

69 Burchfiel. eventually informed Braze that the tail lights and brake lights on the
vehicle Braze was driving were not operating and gave Braze what Burchfiel. described as
a "fix-it ticket"

70 Burchfiel. never told Braze that the broken reflector part of the right lens assembly
on the lights showing to the rear of the vehicle was a problem, Braze was to make the
vehicle lights operable.

71 Burchfiel charged Braze with operating a motor vehicle without the required
lights

72 Burchfiel is a “law enforcement officer" and as such must be held to a high
standard of knowledge of the law.

73 It is impossible for a law enforcement officer to properly enforce the law without
knowledge of the law the officer has taken an oath to enforce.

74 Officer Burchfiel knew the law and did in a willful and deliberate manner charge
Braze with a crime of which Braze was not guilty

75 ‘The act charging Braze with a crime of which Braze was not guilty in a willful and

deliberate manner, with full knowledge that they were not true, by officer Burchfiel, is
clearly demonstrated by the section in the citation which states "DESCRIBE" and in
which Burchfiel states: "Operating w\out Required lights (Brake\ Tail). [Exhibit A,
included by reference]

76 The applicable definition of without, meant by w\out, is stated by Websters
Dictionary as "lacking".

77 If the intent had been to indicate that the lights were not working Burchfiel
would have put Required lights not operating indicating that the lights were there but
not working.

78 If the intent had been to indicate that the lights were not working Burchfiel
would have charged Braze with violating ORS 876.080 and 816.100 indicating that the lights
were there but not working not 876.330 [Exhibit A, included by reference] Operation
without required lighting equipment; indicating that the lights were not on the vehicle.
79 Burchtiel states in pertinent part in the "OREGON UNIFORM CITATION AND
COMPLAINT" "I CERTIFY UNDER ORS 153.045 AND 153.990 AND UNDER OTHER
APPLICABLE LAW AND UNDER PENALTIES FOR FALSE SWEARING. DO SWEAR/AFFIRM

THAT I HAVE SUFFICIENT GROUNDS TO AND DO BELIEVE THAT THE ABOVE MENTIONED
DEFENDANT/PERSON COMMITTED THE ABOVE OFFENSE(S) AND I HAVE SERVED THE

DEFENDANT/PERSON WITH THIS COMPLAINT" [Exhibit A, included by reference] which
Burchfiel then signed with full knowledge that the foregoing was not true.

80 Burchfiel's arrest of Braze on the charge that Braze was operating a motor
vehicle without the required lights was a false arrest pursuant to the United States
Constitution, constituting deprivation of Braze's common law rights to liberty, to own
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property, the unabridged right to petition the government for redress of grievances,
pursuit of happiness, the quantitative and qualitative aspects of the right to life, the right to
due process of law, the right to travel, the right to operate a motor vehicle for business
and pleasure but not by way of limitation,

81 Burchfiel's arrest on the charge that Braze was operating a motor vehicle
without the required lights was a false arrest constituting deprivation of Braze's common
law rights to liberty, to own property, the unabridged right to petition the government for
redress of gricvances, pursuit of happiness, the quantitative and qualitative aspects of the
right to life, the right to due process of law, right to operate a motor vehicle for business
and pleasure but not by way of limitation, pursuant to Title 42, USC section 1983.

82 Burchfiel's arrest of Braze on the charge that Braze was operating a motor vehicle
without the required lights was a false arrest constituting deprivation of Braze's common
law rights pursuant to the laws in pursuit of the United States Constitution including
Stare Decisis, case law, in pursuit to the United States Constitution, pursuant to the right
to liberty, to own property, the unabridged right to petition the government for redress of
grievances, pursuit of happiness, the quantitative and qualitative aspects of the right to life,
the right to due process of law, the right to travel and the right to operate a motor vehicle
for business and pleasure, but not by way of limitation,

83 Burchfiel's arrest of Braze on the charge that Braze was operating a motor vehicle
without the required lights was a false arrest constituting a common law trespass on
Braze's common law rights, including the right to liberty, to own property, the unabridged
right to petition the government for redress of grievances, pursuit of happiness, the
quantitative and qualitative aspects of the right to life, the right to due process of law, the
right to travel and the right to operate a motor vehicle for business and pleasure, but not
by way of limitation

84 Burchfiel's arrest of Braze was done as part of the practice, policy and procedures
of the City of Medford, Medford Municipal Court, and the State of Oregon in violation of
the right to liberty, to own property, the unabridged right to petition the government for
redress of grievances, pursuit of happiness, the quantitative and qualitative aspects of the
right to life, the right to due process of law, and the right to operate a moior vehicle for
business and pleasure, but not by way of limitation

85 Burchfiel's arrest of Braze constitutes part of a conspiracy with the City of
Medford, Medford Municipal Court, and the State of Oregon as a common law trespass
against Braze's right to liberty, to own property, the unabridged right to petition the
government for redress of grievances, pursuit of happiness, the quantitative and qualitative
aspects of the right to life, the right to due process of law, and the right to operate a motor
vehicle for business and pleasure, but not by way of limitation

86 Burchfiel's arrest of Braze was done as part of a conspiracy with the City of
Medford, Medford Municipal Court, and the State of Oregon against Braze's rights as
found in Title 42, USC section 1985. the right to liberty, to own property, the unabridged
right to petition the government for redress of grievances, pursuit of happiness, the
quantitative and qualitative aspects of the right to life, the right to due process of law, and
the right to operate a motor vehicle for business and pleasure, but not by way of limitation
87 Burchfiel's arrest was done as part of a conspiracy with the City of Medford,
Medford Municipal Court, and the State of Oregon against Braze's common law rights as
found in the United States Constitution and the laws in pursuance of the United States
Constitution, including Stare Decisis, case law including the night to liberty, to own
property, the unabridged right to petition the government for redress of grievances,

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pursuit of happiness, the quantitative and qualitative aspects of the right to life, the right to
due process of law, and the right to operate a motor vehicle for business and pleasure, but
not by way of limitation

88 Burchfiel's arrest of Braze on the charge that Braze was operating a motor vehicle
without the required lights was a false arrest constituting deprivation of Braze's right
pursuant to the laws in pursuit of the United States Constitution including Stare Decisis,
case law, in pursuit to the United States Constitution, pursuant to the right to liberty, to
own property, the unabridged right to petition the government for redress of grievances,
pursuit of happiness, the quantitative and qualitative aspects of the right to life, the right to
due process of law, the right to travel and the right to operate a motor vehicle for business
and pleasure, but not by way of limitation,

89 Burchfiel's arrest of Braze on the charge that Braze was operating a motor vehicle
without the required lights was a false arrest constituting common law trespass on Braze's
common law rights, including the right to liberty, to own property, the unabridged right
to petition the government for redress of grievances, pursuit of happiness, the quantitative
and qualitative aspects of the right to life, the right to due process of law, the right to
travel and the right to operate a motor vehicle for business and pleasure, but not by way
of limitation,

COUNT HI
90 Paragraphs 1 through 316 are incorporated by reference.

91 On 6, 9, 2000, Braze took the vehicle to the Medford Municipal Court etc. to get
the citation dismissed. [Exhibit B, included by reference]

92 Officer Brent Mak [hereafter Mak] refused to dismiss the citation due to a broken
portion of the right tail / brake / turn signal / reflector assembly lens, in the reflector
portion.

93 Mak refused to dismiss the citation, claiming that the lens would emit white light
to the rear of the vehicle even though Mak had not observed such condition,

94 As a law enforcement officer Mak had a duty and responsibility to positively
determine that the lens would emit white light to the rear of the vehicle before refusing to
dismiss the citation.

95 The broken portion of the lens was to the center of the back of the vehicle and was
not in the lighted portion of the lens assembly but in the reflector portion which made it
impossible, unless the light was capable of turning a corner, to emit white light to the rear
of the vehicle.

96 Mak claimed that a statute prevented Mak from dismissing the citation.

97 When Braze asked, Mak failed and refused to provide Braze with the statute Mak
was claiming prevented Mak from dismissing the citation.

98 Mak knew or should have known that the statute the violation of which Braze was
charged was for operating a motor vehicle without the required lights, [Exhibit A,
included by reference]

99 On 5, 10, 2000 Braze observed that neither the brake or tail lights emitted a white
light to the rear of the vehicle when lighted as claimed by Mak but emitted a red light as
required by the statutes cited within this document.

100  Onor about 6, 10, 2000 Braze investigated the statute cited by Burchfiel and the
other statutes on lights cited within the Declaration, filed herewith and included herein by

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reference thereto and discovered that Braze was not charged with inoperable lights as
Braze had been led to believe but with not having the required lights.

101 The required lights were on the vehicle at all times_ referred to in this document.
102 Mak asa law enforcement officer knew or should have known that the cited
statute was for lack of equipment not inoperable equipment.

103 With the required equipment on the vehicle Mak was not prevented from signing
the citation.

104. Mak was required to dismiss the citation pursuant to the Due Process clauses of
the United States Constitution, The Supreme Law of the Land which Mak had taken an
oath/affirmation to uphold as a law enforcement officer.

105 The required lights were present, making refusal to sign the citation deprivation of
Braze's common law rights pursuant to Title 42, USC section 1983. to due process of law,
equal protection of the law, the right to travel, right to operate a motor vehicle for
business and pleasure, the right to liberty, to own property, the unabridged right to
petition the government for redress of grievances, pursuit of happiness, and the
quantitative and qualitative aspects of the right to life but not by way of limitation

106 The required lights were present, making refusal to sign the citation deprivation of
Braze's common law rights as found in the United States Constitution, to due process of
law, equal protection of the law, right to travel, right to operate a motor vehicle for
business and pleasure, the right to liberty, to own property, the unabridged right to
petition the government for redress of grievances, pursuit of happiness, and the
quantitative and qualitative aspects of the right to life but not by way of limitation

107 The required lights were present, making refusal to sign the citation deprivation of
Braze's common law rights pursuant to Stare Decisis, case law in pursuance of the United
States Constitution including due process of law, equal protection of the law, right to
operate a motor vehicle for business and pleasure, the right to liberty, to own property,
the unabridged right to petition the government for redress of grievances, pursuit of
happiness, and the quantitative and qualitative aspects of the right to life but not by way of
limitation

108 The required lights were present, making refusal to sign the citation common law
trespass on the rights of Braze to, due process of law, equal protection of the law, right
to operate a motor vehicle for business and pleasure, the right to liberty, to own property,
the unabridged right to petition the government for redress of grievances, pursuit of
happiness, and the quantitative and qualitative aspects of the right to life but not by way of
limitation

109 The required lights were present and the refusal Lo sign the citation was done as
part of the practice, policy and procedures of the City of Medford, Medford Municipal
Court, and the State of Oregon in violation of the right to liberty, to own property, the
unabridged right to petition the government for redress of grievances, pursuit of
happiness, the quantitative and qualitative aspects of the right to life, the right to due
process of law, and the right to operate a motor vehicle for business and pleasure, but not
by way of limitation

110 Mak's actions were part of the conspiracy with the City of Medford, Medford
Municipal Court, and the State of Oregon in deprivation of Braze's common law United
States Constitution rights to due process of law, equal protection of the law, right to
travel, right to operate a motor vehicle for business and pleasure, the right to liberty, to
own property, the unabridged right to petition the government for redress of grievances,

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pursuit of happiness, and the quantitative and qualitative aspects of the right to life but not
by way of limitation

111 Mak's actions were part of the conspiracy with the City of Medford,
Medford Municipal Court, and the State of Oregon in deprivation of Braze's common law
rights in the laws in pursuit of the United States Constitution including Stare Decisis, case
law, in pursuance to the United States Constitution to due process of law, equal
protection of the law, right to travel, right to operate a motor vehicle for business and
pleasure, the right to liberty, to own property, the unabridged right to petition the
government for redress of grievances, pursuit of happiness, and the quantitative and
qualitative aspects of the right to life but not by way of limitation

112 Mak's actions were part of the conspiracy with the City of Medford, Medford
Municipal Court, and the State of Oregon as a common law trespass against Braze's rights
to due process of law, equal protection of the law, right to travel, right to operate a
motor vehicle for business and pleasure, the right to liberty, to own property, the
unabridged right to petition the government for redress of grievances, pursuit of
happiness, and the quantitative and qualitative aspects of the right to life but not by way of
limitation 113. Mak's actions were part of
the conspiracy with the City of Medford, Medford Municipal Court, and the State of
Oregon in deprivation of Braze's rights pursuant to Title 42, USC section 1985 to due
process of law, equal protection of the law, right to travel, right to operate a motor vehicle
for business and pleasure, the right to liberty, to own property, the unabridged right to
petition the government for redress of grievances, pursuit of happiness, and the
quantitative and qualitative aspects of the right to life but not by way of limitation

COUNT IV
114 Paragraphs 1 through 316 are incorporated by reference.

115 Burchfiel knew or should have known that a broken lens would result in the refusal
to dismiss the citation and was obligated as a law enforcement officer to inform Braze.
Such action constitutes concealment of that which should have been disclosed
constituting fraud.

116 The Courts have determined that fraud includes [Stare Decisis]:: An intentional
perversion of truth, for the purpose of inducing another in reliance upon it to part with
some valuable thing belonging to him or to surrender a legal right, a false representation
of a matter of fact, whether by words or by conduct, by false or misleading allegations or

by concealment of that which should have been disclosed, which
deceives and is intended to deceive another so that he shall act upon it to his legal injury.
Braiinerd Dispatch Newspaper co. v Crow Wing County 196 Minn. 194, 264 N.W. 779,
780. [emphasis added]

117  Burchfiel's failure to inform Braze that the broken part of the lens would prevent
signing off of the citation was fraud leading to deprivation of Braze's common law rights
pursuant to the United States Constitution, of liberty, to own property, the unabridged
right to petition the government for redress of grievances, pursuit of happiness, the
quantitative and qualitative aspects of the right to life, the right to due process of law, the
right to travel, the right to operate a motor vehicle for business and pleasure but not by
way of limitation,

118 Burchfiel's failure to inform Braze that the broken part of the lens would prevent

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signing off of the citation was fraud leading to deprivation of Braze's common law rights
pursuant to Title 42, USC section 1983, to liberty, the unabridged right to petition the
government for redress of grievances, pursuit of happiness, the quantitative and qualitative
aspects of the right to life, the right to due process of law, right to operate a motor vehicle
for business and pleasure but not by way of limitation, pursuant to

119  Burchfiel's failure to inform Braze that the broken part of the lens would prevent
signing off of the citation was fraud leading to deprivation of Braze's common law rights
in the laws in pursuit of the United States Constitution including Stare Decisis, case law,
in pursuit to the United States Constitution, pursuant to the night to liberty, the unabridged
right to petition the government for redress of grievances, pursuit of happiness, the
quantitative and qualitative aspects of the right to life, the right to due process of law, the
right to travel and the right to operate a motor vehicle for business and pleasure, but not
by way of limitation,

120 —_Burchtiel's failure to inform Braze that the broken part of the lens would prevent
signing off of the citation was fraud constituting a trespass on Braze's common law rights,
including the right to liberty, to own property, the unabridged right to petition the
government for redress of grievances, pursuit of happiness, the quantitative and qualitative
aspects of the right to life, the right to due process of law, the right to travel and the right
to operate a motor vehicle for business and pleasure, but not by way of limitation,

121 Burchfiel's failure to inform Braze that the broken part of the lens would prevent
signing off of the citation was done as part of the practice, policy and procedures of the
City of Medford, Medford Municipal Court, and the State of Oregon in violation of the
right to liberty, to own property, the unabridged right to petition the government for
redress of grievances, pursuit of happiness, the quantitative and qualitative aspects of the
right to life, the right to due process of law, and the right to operate a motor vehicle for
business and pleasure, but not by way of limitation

122 Burchfiel's failure to inform Braze that the broken part of the lens would
prevent signing off of the citation was fraud leading to deprivation of Braze's common law
rights and was done as part of the conspiracy with the City of Medford, Medford
Municipal Court, and the State of Oregon and was a common law trespass against Braze's
rights to liberty, to own property, the unabridged right to petition the government for
redress of grievances, pursuit of happiness, the quantitative and qualitative aspects of the
right to life, the right to due process of law. and the right to operate a motor vehicle for
business and pleasure, but not by way of limitation

123 Burchfiel's failure to inform Braze that the broken part of the lens would
prevent signing off of the citation was fraud leading to deprivation of Braze's common law
rights and was done as part of the conspiracy with the City of Medford, Medford
Municipal Court, and the State of Oregon against Braze's rights pursuant to Title 42,
USC section 1985 including the right to liberty, to own property, the unabridged right to
petition the government for redress of grievances, pursuit of happiness, the quantitative
and qualitative aspects of the right to life, the right to due process of law, the right to
travel and the right to operate a motor vehicle for business and pleasure, but not by way of
limitation

124 — Burchfiel's failure to inform Braze that the broken part of the lens would prevent
signing off of the citation was fraud leading to deprivation of Braze's common law rights
and was done as part of conspiracy with the City of Medford, Medford Municipal Court,
and the State of Oregon in deprivation of Braze's common law rights as found in the
United States Constitution including the right to liberty, to own property, the unabridged
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right to petition the government for redress of grievances, pursuit of happiness, the
quantitative and qualitative aspects of the right to life, the right to due process of law, the
right to travel and the right to operate a motor vehicle for business and pleasure, but not
by way of limitation

125 Burchfiel's failure to inform Braze that the broken part of the lens would prevent
signing off of the citation was fraud and was done as part of the conspiracy leading to
deprivation of Braze's common law rights in the laws in pursuance of the United States
Constitution, including Stare Decisis, case law , including the right to liberty, to own
property, the unabridged right to petition the government for redress of grievances,
pursuit of happiness, the quantitative and qualitative aspects of the right to life, the right
to due process of law, the right to travel and the right to operate a motor vehicle for
business and pleasure, but not by way of limitation

COUNT V
126 Paragraphs 1 through 316 are incorporated by reference.

127 On5, 12,2000, Frank E, Brazereceived from officer Burchfiel The following
document, "OREGON UNIFORM CITATION AND COMPLAINT" [Exhibit A, included by
reference] "SUMMONS" "55601" WITH THE NAME SPELLED IN ALL CAPS, "FRANK
EUGENE BRAZE", FRAUD In conspiracy with the state of Oregon printing the name on the drivers
license WITH THE NAME SPELLED IN ALL CAPS. in deprivation of Braze's Constitutional rights as
follows:

128 Frank E. Braze, PROPER PARTY INJURED IS REFUSING THE DOCUMENT "OREGON
UNIFORM CITATION AND COMPLAINT" UNDER: [F.R.C-P. 9 [b] "FRAUD" ONCE A FRAUD

ALWAYS A FRAUD, CONSPIRING WITH THE STATE OF OREGON; BUT NOT BY WAY OF
LIMITATION.

129 Declaring that Frank Eugene Braze, [hereinafter Braze] is either dead or a
corporation ["FRAUD"] The claim being that: "FRANK EUGENE BRAZE" The name
being in all upper case designates either a dead party or a corporation. Braze is not dead
nor a corporation, the name is not , "FRANK EUGENE BRAZE" THEREFORE "Frank E.
Braze" has never been served with the claimed document as required by law, and no
proper service has been achieved. Service on a dead party is not valid service therefore
the intent is clearly to designate Braze as a corporation under the commerce of the
Military/Maritime/Admiralty/Administrative flag of the court, gold fringe, gold braid, gold
spear, gold ball, gold eagle [in the case of the Medford Municipal Court gold fringe with
gold eagle on top] "FRAUD", Pursuant to the FRAUD of the "War Powers Act" of 1917
as amended in 1933 making the people of the United States the same as enemies in order
to deprive the people, including Braze, of the rights of the FLAG OF PEACE and the
United States common law as found within the Constitution of the United States,
particularly, but not exclusively, within the bill of rights, and within the declaration
of Independence. FRAUD" ON ITS FACE.

130 Blacks Law Dictionary describes as follows: Legal Name, Under common law
consists of one Christian name and one surname, and the insertion, omission, or mistake
in middle name or initial is immaterial. The "legal name of an individual consists of a
given or baptismal name, usually assumed at birth, and a surname deriving from the
common name of the parents. Application of Green, 54 Misc.2d 606, 283 N.Y.S. 2d 42,
245; B.L.D. [emphasis added]

131‘ The legal name is, "Frank Eugene Braze," not "FRANK EUGENE BRAZE"

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132 Frank E. Braze is a "citizen in party" and Proper Party Injured and the movant.
133 Therefore Frank E. Braze has never been served with the required document as
required by law by an approved agency, and no proper service has been achieved in order
to deprive Braze of the rights of the FLAG OF PEACE and the common law under the
Constitution of the United States which under TITLE 42 U.S.C.A. 1986, HAVING
KNOWLEDGE OF THE LAW AND DID NOT CORRECT LEADS TO TITLE 42 U.S.C_A. 1983 INJURY
OF DEFENDANT, NOTES 333, 337, 349, 350, AND 351, VIOLATION OF CONSTITUTIONAL RIGHTS,
POLICY AND CUSTOM 319 AND 337.

134 VIOLATION OF POLICY AND CUSTOM COME UNDER THE INTENT OF DEPRIVATION
OF RIGHTS UNDER TITLE 18 U.S.C_.A. SECTION 242 DEPRIVATION OF RIGHTS UNDER
COLOR OF LAW AS AGAINST THE CITIZEN. [BUT NOTBY WAY OF LIMITATION]

135 HAVE CAUSED "Braze", WITH THE "KNOWLEDGE OF THE LAW" UNDER TITLE 42
U.S.C.A. 1986 WITH "DEPRIVATION" OF U.S. CONSTITUTIONAL RIGHTS UNDER THE
"COLOR OF LAW" IN AND FOR TITLE 18 U.S.C.A. 242 "DEPRIVATION OF RIGHTS" WITH
"INTENT" AND "EXTORTION", AND "EXTORTION" OF U.S. CONSTITUTIONAL RIGHTS
UNDER TITLE 18 U.S.C.A. 872 AND TITLE 18 U.S.C.A. 241

136 "CONSPIRACY AGAINST RIGHTS" TITLED ABOVE, [BUT NOT BY WAY OF
LIMITATION] TOGETHER IN THEIR "SILENCE" CAUSING "NEGLECT" TITLE 42 U.S.C. 1986,
WHILE WITNESSING EACH OTHER IN TURN, IN THESE PROCEEDINGS, AS AGAINST Braze
IN VIOLATION OF A GUARANTEE OF DUE PROCESS CAUSING STH A.U.8.C. DUE PROCESS
VIOLATIONS

137 |=THE “KNOWLEDGE” OF THE LAW, FOLLOWED BY F.R.C.P. 9 (b) "FRAUD", THEN
TITLE 18 U.S.C.A. 242 "DEPRIVATION OF RIGHTS UNDER THE COLOR OF LAW"

138 WHOEVER, UNDER COLOR OF ANY LAW, STATUTE, ORDINANCE, REGULATION, OR
CUSTOM, WILLFULLY SUBJECTS ANY :"CITIZEN IN PARTY" IN ANY STATE, TERRITORY, OR
DISTRICT TO THE "DEPRIVATION" OF ANY RIGHTS, PRIVILEGES, OR IMMUNITIES SECURED OR
PROTECTED BY THE U.S. CONSTITUTION OR LAWS OF THE UNITED STATES, OR TO
DIFFERENT PUNISHMENTS, PAINS, OR BY REASON OF CITIZEN IN PARTY'S COLOR OR RACE
THAN ARE PRESCRIBED FOR THE PUNISHMENT OF "CITIZENS IN PARTY" SHALL BE FINED
UNDER THIS TITLE OR IMPRISONED NOT MORE THAN TEN YEARS OR BOTH.

139 The FRAUD of the war powers act claiming the people are the same as the
enemies of the government can be clearly seen in the following statement by the United
States Supreme Court in 1866. The problem is not that the people are the enemies of the
Government but that the "claimed" Government has become the enemy of the people.
140 = ‘The Constitution of the United States is a law for rulers and people, equally in
war and peace, and covers with the shield of its protection all classes of men, at all
times, and under all circumstances. No doctrine involving more pernicious

consequences was ever invented by the wit of man than that any of its provisions can
be suspended during any of the great exigencies of government. Such a doctrine leads

directly to anarchy or despotism." The Supreme Court of the United States, 1866
[emphasis added]

141. The FRAUD of the War Powers Act as amended in 1933 is clearly seen in the
United States Constitution, the statements of the framers of the Constitution that powers
not delegated to the Federal Government were denied, and the above statement by the
United States Supreme Court.

142 = The Constitution clearly spells out what rights may be suspended in time of war or
emergency and any other suspension is unconstitutional.

143 The U.S. has technically been at war with it's own citizens since the 1930's time
period after we were sold out by one of our own presidents, Roosevelt. The declared
National Emergency of March 9, 1933 amended the War Powers Act to include the

 

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American People as enemies. This allowed Maritime Law to come onto land.

144. HOWEVER the actions were and are entirely unconstitutional. The Federal
Government may only Constitutionally exercise those powers granted by the
Constitution.

145 KEEPING THE LAWS UNCLEAR. In the editorials/government/protocols of
zion by which the New World Order is implemented, the ambiguity of legal terms is set
forth as a necessary quality by which any interpretation desired may be secured. In
the nebulous breadth of those ambiguities lies the latitude of interpretation to make laws
and regulations say whatever those in authority want them to say. Concerning those

laws they claim that they: "...have twisted their interpretations so as to make
them contradict each other. We have succeeded in erecting great and magnificent results
by perverting the laws. The first result was that the interpretations of the laws actually
masked their true intent. Afterwards, those laws were entirely hid from eyes of the
governments because it became impossible to make anything out of the tangled web of
legislation."

146 ‘The actions of Mak, Burchfiel, Denise Bostwick, Medford Municipal Court, City
of Medford, Medford Police Department, State of Oregon, United States Government, but
not by way of limitation, in using all multifarious means at their disposal to twist their
interpretations so as to make them contradict each other or claim that the law means
something other than the clear unambiguous statement as was done in the "OREGON
UNIFORM CITATION AND COMPLAINT" claiming that 816.330 Operation without
required lighting equipment; means OPERATION WITHOUT REQUIRED LIGHTING"
are actions to mask the true intent of the law.

147 The foregoing individuals and entities are conspiring with other individuals and
entities within the Oregon government and Federal government to make the laws so
vague and ambiguous that they can declare that they mean anything these individuals want
them to mean in deprivation of the rights of the people of the United States, including
Braze.

148 The actions of the conspirators as stated above constitute deprivation of All of
Braze's rights, both enumerated and unremunerated Pursuant to the Natural Rights of
Man. 149 The actions of the conspirators as stated above constitute deprivation of
All of Braze's rights pursuant to the Constitution of the United States.

150 = The actions of the conspirators as stated above constitute deprivation of All of
Braze's rights Pursuant to the Common Law.

151 The actions of the conspirators as stated above constitute deprivation of All of
Braze's rights Pursuant to Title 42, USC, sections 1986, 1985 and 1983.

152 The actions of the conspirators as stated above constitute deprivation of All of
Braze's rights pursuant to the rights found within the laws in pursuit of the Constitution of
the United States both statutory and case law; /Stare Decisis].

COUNT VI
153 Paragraphs 1 through 316 are incorporated by reference.
154 Denise Bostwick and jane doe, court clerks, Medford Municipal Court, did
conspire with the Medford Municipal court to deprive Braze of Braze's United States
common law rights, found within the United States Constitution, particularly, but not

exclusively, within the Bill of Rights, and the Declaration of Independence, founded on
the Natural Rights as found in the English Common law and as espoused by Blackburn.

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155. Denise Bostwick and jane doe, court clerks, have denied Braze the right to jury
trial as required by the VI amendment to the United States Constitution.

156 Denise Bostwick and jane doe, court clerks, have denied Braze the right to compel
witnesses against Braze and hostile witness in Braze' defense, in the form of Mak who
refused in violation of Constitutional Due process of law to dismiss an unlawful citation.
157. Denise Bostwick and jane doe, court clerks, have denied Braze the right to compel
witnesses in Braze's favor in the form of the facilities to show a video recording of what
the light emanating from the rear of the vehicle looks like.

158 The United States Constitution is clear and unambigious about the rights of the
people in _a@ll criminal prosecutions.

159 The English common law is not the "Law of the Land’ in the United States of
America.

160 The English common law cannot constitutionally be resorted to in order to pervert
the meaning of the United States Constitution.

161 The English common law may only be resorted to in order to determine what the
framers of the United States Constitution meant when the "vulgar", common, meaning of
the word or law is unclear.

162 Pursuant to the United States Constitution, Amendment VI, In all criminal
prosecutions, the accused shall enjoy the right to a speedy and public trial, by an
impartial jury of the State and district wherein the crime shall have been committed;
which district shall have been previously ascertained by law, and to be informed of the
nature and cause of the accusation; to be confronted with the witnesses against him, to
have compulsory process for obtaining witnesses in his favor, and to have the
assistance of counsel for his defense.

163 Article II. Section. 2 Paragraph 2. of the United States Constitution states in

pertinent part: "In all cases ... the supreme Court shall have original Jurisdiction. with
such Exceptions, and under such Regulations as the Congress shall make."
164 The framers of the United States Constitution were perfectly capable of making

exceptions and exclusions to the word all in the Constitution when that was their
intention as may be clearly seen from the above section.

165 Where it was the intention of the framers of the Constitution to make exceptions
and provide for regulations as limitations on rights and powers the framers of the
Constitution explicitly so stated.

166 The Supreme Court of the United States in, 1866, stated: "Time has proven the
discernment of our ancestors; for even these provisions, expressed in such plain English
words that it would seem the ingenuity of man could not evade them, are now after the
lapse of more than seventy years, sought to be avoided. Those great and good men
foresaw that troublous times would arise, when rulers and people would become restive
under restraint, and seek by sharp and decisive measures to accomplish ends deemed just
and proper, and that the principles of constitutional liberty would be in peril unless
established by irrepealable law. The history of the world had taught them that what was
done in the past might be attempted in the future.

167 The word alll in Amendment V1 is as extended as is possible, it means each
and every crime and criminal prosecution; No exclusions for infractions, offenses,

violations or other names the courts have come up with in the court's multifarious
means which human ingenuity can devise, and which are resorted to by the courts

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to increase the courts power by deprivation of the rights of the individuals as
enumerated within the United States Constitution. While claiming, based on
English Common Law that the framers of the United States Constitution didn't mean

what they said when they said all criminal prosecutions,

168 The courts have stated the following pursuant to the United States Constitution:
169 The word ‘crime’ in its more extended sense, comprehends every violation of
public law;"...Callahan v. Wilson, 8 §.Ct. 1301, 1308, 127 U.S. 540, 549, 32 L Ed. 223
170 ‘It means every offense, from the highest to the lowest in grade,"... State v.
Stewart, 19 N.W. 429, 432, 60 Wis. 587, 50 Am. Rep. 388; Ex parte Reggel, 5 S Ct.1148,
1152, 114 U.S. 642, 29 L Ed. 250; Morton v. Skinner, 48 Ind. 123, 124; State v.
Peterson, 41 Vt. 504, 522. Hyatt v. State of New York, 23 S Ct. 456, 461, 188 U.S. 691, 7
L Ed. 657.

171... "must be held to be used in its general sense to include any crime. State v.
Henderson, 50 A. 468, 469, 66 N.J.L. 601. A "crime" is an act committed or
omitted in violation of a public law either forbidding or commanding it, and in a
comprehensive sense it includes minor offenses. Commonwealth v. Shields, 50
Pa.Super. 194, 203

172. "It is a principal of criminal law that an offense which may be the subject of
criminal procedure is an act committed or omitted’ in violation of a public law, either
forbidding or commanding it'" United States v. Eatonk, 12 8 Ct. 764, 767, 144 U.S. 687,
36,L Ed. 591.

173. Word "crime" in its more extended sense comprehends every violation of public
laws. People v. Babb,229 P.2d 843, 103, Cal.App2d 326.

174. A criminal action is one prosecuted by the state, as a party, against another
person charged with a public offense, in order that punishment thereof may be meted out
to said individual after conviction. Ames v. state of Kansas, 4 § Ct. 437, 442, 111, U.S.
449, 28 L Ed. 482

175 The courts in their lust for power, have in violation of their oath to support
the Constitution of the United States; Which states in pertinent part: that the
Constitution of the United States and the laws made in pursuance of the Constitution of

the United States... is the Supreme law of the land and the judges in every
state are bound thereby not withstanding any state laws to the contrary, being unable
to find documentation within the writings of the framers of the United States

Constitution to justify their usurpation of the people's rights in, all criminal
prosecutions, reached back into, claimed, English common law to provide the basis

for claiming that when the founding fathers stated that in all criminal prosecutions the
accused is entitled to a jury trial, etc. they didn't know what they were talking about and
excluded what the English common law called "petty crimes", FRAUD

176 The use of the claimed, English common law is in clear violation of what James
Wilson, participant in the Constitutional Congress, signer of the United States
Constitution and Justice on the United States Supreme Court stated: "The first and
governing maxim in the interpretation of a statute is, to discover the meaning of those
who made it." Not what some other country's law said.

177 Pursuant to the United States Supreme Court: "When any court violates the
clean and unambiguous language of the Constitution, a fraud is perpetrated and no
one is bound to obey it." State v. Sutton, 63 Minn. 147 65 NW 262 30 ALR 660. Also see

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(Watson v. Memphis, 375 US 526; 10 L Ed 529; 83 S.Ct. 1314) [emphasis added]
178 All Crimes is as clear and unambiguous as you can get. ‘crime’ in its more
extended sense, includes "All" violations of the law and the United States Constitution in
its clean and unambiguous language includes "All" crimes in requiring Jury Trial, etc.
179 While the courts may have some basis for using the old English Common Law as
the basis for determining what the Founding Fathers meant where the Constitutional
provision is unclear, the VIth Amendment is not one of those cases, The amendment is
quite clear, as part of the Supreme law of the land it is binding not only on Judges but
every individual in the United States.
180 U.S. Supreme Court in, HURTADO v. PEOPLE OF STATE OF CALIFORNIA stated the
following: To what principles are we to resort to ascertain whether this process enacted
by congress is due process? To this the answer must be twofold. We must examine the
constitution itself to see whether this process be in conflict with any of its provisions. If
not found to be so, we must look to those settled usages and modes of proceeding existing
in the common and statute law of England before the emigration of our ancestors, and
which are shown not to have been unsuited to their civil and political condition by having
been acted on by them after the settlement of this country.’ their right, when accused of
crime, to be informed of the nature and cause of the accusation against them, and to a
speedy and public trial, by an impartial jury of the state and district wherein the crime
was committed; to be confronted with the witnesses against them; and to have
compulsory process for obtaining witnesses in their favor. Will it be claimed that none
of these rights were secured by the ‘law of the land' or ‘due process of law,' as declared
and established at the foundation of our government? Are they to be excluded from the
enumeration of the fundamental principles of liberty and justice, and, therefore, not
embraced by ‘due process of law?’ U.S. Supreme Court, HURTADO v. PEOPLE OF
STATE OF CALIFORNIA, 110 U.S. 516 (1884) 110 U.S. 516, HURTADO v. PEOPLE OF THE STATE
OF CALIFORNIA. — [emphasis added]
181 These provisions apply not only to the congress but to the determination of the
rights of the individual by the court.
182 That claimed to be "Stare Decisis", to stand by that decided, case law, is only the
law of the land insofar as it is in pursuance of the United States Constitution; in all
other cased ... "a fraud is perpetrated and no one is bound to obey it.”
183 Referring to the declaration by a French writer, that Rome, Sparta, and Carthage
having lost their liberties, those of England must in time perish, Blackstone observed that
the writer 'should have recollected that Rome, Sparta, and Carthage, at the time their
liberties were lost, were strangers to the trial by jury.' 2 BL Com. 379. [emphasis added]
184 The Constitution, without excepting from its provisions any individuals over
whom the United States may exercise jurisdiction, declares expressly that 'the trial of
all crimes, except in cases of impeachment, shall be by jury.’ U.S. Supreme Court,
DORR v. U S, 195 U.S. 138 (1904) 195 U.S. 138 FRED. L. DORR and Edward F. O'Brien, Plffs. in
Err., v. UNITED STATES. No. 583. [emphasis added]

The clear reason for the perpetration of this FRAUD by the courts is found in the
Maxim "Power corrupts and absolute power corrupts absolutely"
185 The Fraud is in violation of "Stare Decisis", to stand by that decided, case law in
pursuance of the United States constitution which courts have declared as follows:
186 Amendment VII states: "In suits at common law, where the value in controversy
shall exceed twenty dollar, the right of trial by jury shall be preserved, and no fact tried

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by a jury shall be otherwise reexamined in any Court of the United States, than
according to the rules of the common law." "The jury. . . . acts not only as a safeguard
against judicial excesses, but also as a barrier to legislative and executive oppression.
The Supreme Court. . .recognizes that the jury . . . is designed to protect Defendants
against oppressive governmental practices." United States ex rel Toth v. Quarles, 350
U.S. 11, 16 (1955) [emphasis added] The courts are determined to deny protection
against oppressive governmental practices.

187 [J. Story, Commentaries on the Constitution of the United States 1757 (1833).
states: "[I]t is a most important and valuable amendment; and places upon the high ground
of constitutional right the inestimable privilege of a trial by jury in civil cases, a
privilege scarcely inferior to that in criminal cases, which is conceded by all to be
essential to political and civil liberty." Id. at 1762.] [emphasis added]

188 The Bill of Rights, the first ten amendments to the Constitution are not Federal or
State rights but rights of the people pursuant to amendment ten.

189 "When any court violates the clean and unambiguous language of the
Constitution, a fraud is perpetrated and no one is bound to obey it." State v. Sutton, 63
Minn. 147 65 NW 262 30 ALR 660. Also see (Watson v. Memphis, 375 US 526; 10 L Ed
529; 83 S.Ct. 1314)

190 The duty of the courts is clear. " The judicial branch has only one duty --- to lay
the article of the Constitution which is involved beside the statue which is challenged
and to decide whether the latter squares with the former. . .the only power it (the
Court) has. . .is the power of judgment." U.S. v. Butler, 297 US (1936)

191 "The jury.... acts... as a safeguard against judicial excesses, The Supreme
Court . . .recognizes that the jury... is designed to protect Defendants against
oppressive governmental practices.” United States ex rel Toth v. Quarles, 350 U.S. 11,
16 (1955) [emphasis added]

192 Denise Bostwick and jane doe are officers of the court.

293 The United States Constitution requires all judicial officers to take an oath or
affirmation to support the Constitution of the United States.

194 The United States Constitution provides for the rights of the accused in all
criminal cases. ]United States Constitution, Amendment VI]

195 Denial of the rights of the accused as provided for in the United States
Constitution constitutes perjury of Oath of Office.

196 Denise Bostwick and jane doe have committed perjury of their oath of office.

197 Denise Bostwick and jane doe's refusal to provide for Braze's rights pursuant to
United States Constitution, Amendment VI, is a violation of Braze's common law rights as
found in the United States Constitution, to due process of law, equal protection of the
law, right to travel, right to operate a motor vehicle for business and pleasure, the right
to liberty, to own property, the unabridged right to petition the government for redress of
grievances, pursuit of happiness, and the quantitative and qualitative aspects of the right to
life but not by way of limitation

198 Denise Bostwick and jane doe's refusal to provide for Braze's rights pursuant to
United States Constitution, Amendment VI, is a violation of Braze's common law rights
pursuant to Stare Decisis, case law in pursuance of the United States Constitution
including due process of law, equal protection of the law, right to operate a motor vehicle
for business and pleasure, the right to liberty, to own property, the unabridged right to
petition the government for redress of grievances, pursuit of happiness, and the

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quantitative and

199 Denise Bostwick and jane doe's refusal to provide for Braze's common law rights
pursuant to United States Constitution, Amendment VI, constitutes deprivation of Braze's
rights pursuant to Title 42, USC section 1983 including due process of law, equal
protection of the law, right to operate a motor vehicle for business and pleasure, the right
to liberty, to own property, the unabridged right to petition the government for redress of
grievances, pursuit of happiness, and the quantitative and qualitative aspects of the right to
life but not by way of limitation

200 Denise Bostwick and jane doe's refusal to provide for Braze's rights pursuant to
United States Constitution, Amendment VI, constitutes common law trespass on the rights
of Braze to, duc process of law, equal protection of the law, right to operate a motor
vehicle for business and pleasure, the right to liberty, to own property, the unabridged
right to petition the government for redress of grievances, pursuit of happiness, and the
quantitative and qualitative aspects of the right to life but not by way of limitation

201 Denise Bostwick and jane doe's refusal to provide for Braze's common law rights
pursuant to United States Constitution, Amendment VI, was done as part of the practice,
policy and procedures of the City of Medford, Medford Municipal Court, and the State of
Oregon in violation of the right to liberty, to own property, the unabridged right to
petition the government for redress of grievances, pursuit of happiness, the quantitative
and qualitative aspects of the right to life, the right to due process of law, and the right to
operate a motor vehicle for business and pleasure, but not by way of limitation

202 Denise Bostwick and jane doe's refusal to provide for Braze's rights pursuant to
United States Constitution, Amendment VI, is part of the conspiracy with the City of
Medford, Medford Municipal Court, and the State of Oregon in violation of the United
States Constitution against Braze's rights to due process of law, cqual protection of the
law, right to travel, right to operate a motor vehicle for business and pleasure, the right to
liberty, to own property, the unabridged right to petition the government for redress of
grievances, pursuit of happiness, and the quantitative and qualitative aspects of the right to
life but not by way of limitation

203 Denise Bostwick and jane doe's refusal to provide for Braze's rights pursuant to
United States Constitution, Amendment VI, is part of the conspiracy with the City of
Medford, Medford Municipal Court, and the State of Oregon in deprivation of Braze's
rights pursuant to Stare Decisis, case law, in pursuance to the United States Constitution;
to due process of law, equal protection of the law, right to travel, right to operate a motor
vehicle for business and pleasure, the right to liberty, to own property, the unabridged
right to petition the government for redress of grievances, pursuit of happiness, and the
quantitative and qualitative aspects of the right to life but not by way of limitation

204 Denise Bostwick and jane doe's refusal to provide for Braze's rights pursuant to
United States Constitution, Amendment VI, is part of the conspiracy with the City of
Medford, Medford Municipal Court, and the State of Oregon as common law trespass
against Braze's rights to due process of law, equal protection of the law, right to travel,
right to operate a motor vehicle for business and pleasure, the right to liberty, to own
property, the unabridged right to petition the government for redress of grievances,
pursuit of happiness, and the quantitative and qualitative aspects of the right to life but not
by way of limitation

205 Denise Bostwick and jane doe's refusal to provide for Braze's rights pursuant to
United States Constitution, Amendment VI, is part of the conspiracy with the City of
Medford, Medford Municipal Court, and the State of Oregon in deprivation of Braze's

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rights pursuant to Title 42, USC section 1985 to due process of law, to own property,
equal protection of the law, right to travel, right to operate a motor vehicle for business
and pleasure, the right to liberty, the unabridged right to petition the government for
redress of grievances, pursuit of happiness, and the quantitative and qualitative aspects of
the right to life but not by way of limitation

COUNT VII
206 Paragraphs 1 through 316 are incorporated by reference.

207. Onor about "6/9/00" DB, believed to be Denise Bostwick, changed the charge of

operating a motor vehicle without the required lights by Burchfiel in the "OREGON
UNIFORM CITATION AND COMPLAINT" [Exhibit A, included by reference] as follows:
from 816,330 Operation without required lighting equipment; to "Charge:
OPERATION WITHOUT REQUIRED LIGHTING" in the "TRIAL NOTICE" [FRAUD]
{Exhibit c, included by reference]

208 The change was an attempt to make lawful an unlawful action by Burchfiel.
charging Braze with "Operation without required lighting equipment;" when
Burchfiel knew the lighting equipment was on the vehicle.

209 ~The change was an attempt to pretend that 816.330 Operation without required
lighting equipment; means operating without the required lighting, whatever that
means.

210 The change was an action to make a series of completely unambiguous laws into
"Vague laws" in violation of court decisions, Stare Decisis, including the United States
Supreme Court.

211 Vague laws offend several important values; first, vague laws may trap the
innocent by not providing fair warning; second, vague law impermissibly delegates basic
policy matters to policemen, judges, and juries for resolution on an ad hoc and
subjective basis, with attendant dangers of arbitrary and discriminatory application; and
third, where a vague statute abuts on sensitive areas of basic First Amendment freedoms,
it operates to inhibit the exercise of those freedoms. Grayned vy. City of Rockford, 92
S.Ct. 2294, 408 U.S. 104 (1972)

212 ~Braze includes COUNT V herein by reference as though fully set forth. The
actions as stated in count V are part of a worldwide conspiracy within which the United
States Government, the Oregon State Government, The City of Medford, Medford
Municipal court and Medford Police department are conspirators, but not by way of
limitation.

213 The intent of the conspirators is to use multifarious means, including but not
limited to making the laws unintelligible so the conspirators can claim that the laws mean
anything the conspirators wish them to mean.

214 Braze will amend this complaint as soon as Braze is able to inchide further
conspirators and overt acts in this conspiracy.

215 The action was intended to bring Braze within the jurisdiction of the court.

216 Laws and court procedures that are “fair on their faces" but administered "with
an evil eye or a heavy hand" was discriminatory and violates the Equal Protection
Clause of the Fourteenth Amendment. Yick Wo v. Hopkins, 118 U.S. 356

In the present case the law was fair on its face but was not applicable.

217 Denise Bostwick in changing "816.330 Operation without required lighting
equipment;" into "OPERATION WITHOUT REQUIRED LIGHTING" rendered the charge
against Braze vague and ambiguous

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218 It is impossible to tell if the charge against Braze consisted in charging Braze with
the absence of the required lighting equipment, with lighting equipment which was
inoperable or if Braze was charged with failing to use equipment on the vehicle which
was operable but which was not being used when required.

219 Amendment VI. United States Constitution states in pertinent part that: the
accused shall enjoy the right to... be informed of the nature and cause of the
accusation,

220 When Denise Bostwick changed the accusation, as an officer of the court, and the
individual charged with the responsibility of presenting the charges to the judge, Denise
Bostwick, acting as the court, did violate Amendment VI. United States Constitution, and
Denise Bostwick' oath of office; rendering the "charge"(s) against Braze fraudulent and
Braze was not bound to obey either the "OREGON UNIFORM CITATION AND
COMPLAINT" [Exhibit A, included by reference] or the "TRIAL NOTICE” [Exhibit C,
included by reference]

221 "When any court violates the clean and unambiguous language of the
Constitution, a fraud is perpetrated and no one is bound to obey it." State v. Sutton, 63
Minn. 147 65 NW 262 30 ALR 660.

222 The actions of the "police officers", court "officers" the City of Medford and
Medford Municipal Court with their officers, employees and agents have denied Braze the
due process of law standard for a trial in accordance with the Bill of Rights and laws
passed pursuant to constitutional power.

223 The due process of law standard for a trial is one in accordance with the Bill of
Rights and laws passed pursuant to constitutional power, guaranteeing to all alike a
trial under the general law of the land. Duncan v. Louisana, 391 U.S. 145; 88 S.Ct 1444
(1968) [emphasis added]

224 The change was done in deprivation of Braze's common law rights as found within
the United States Constitution, of liberty, to own property, equal protection, the
unabridged right to petition the government for redress of grievances, pursuit of
happiness, the quantitative and qualitative aspects of the right to life, the right to due
process of law, the right to travel, the right to operate a motor vehicle for business and
pleasure but not by way of limitation,

225 The change was done in deprivation of Braze's common law rights pursuant to
Title 42, USC section 1983, to liberty, to own property, equal protection, the unabridged
right to petition the government for redress of grievances, pursuit of happiness, the
quantitative and qualitative aspects of the right to life, the right to due process of law, the
right to travel and the right to operate a motor vehicle for business and pleasure but not by
way of limitation,

226 The change was done in deprivation of Braze's common law rights found in the
laws in pursuit of the United States Constitution including Stare Decisis, case law, in
pursuit of the United States Constitution, pursuant to the right to liberty, to own property,
equal protection, the unabridged right to petition the government for redress of
grievances, pursuit of happiness, the quantitative and qualitative aspects of the right to life,
the right to due process of law, the right to travel and the right to operate a motor vehicle
for business and pleasure, but not by way of limitation,

227. The change was done in deprivation of Braze's common law rights constituting
trespass on Braze's common law rights, including the right to liberty, equal protection,
the unabridged right to petition the government for redress of grievances, pursuit of

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happiness, the quantitative and qualitative aspects of the right to life, the right to due
process of law, the right to travel and the right to operate a motor vehicle for business
and pleasure, but not by way of limitation,

228 The change was part of the conspiracy in deprivation of Braze's common law
rights pursuant to the practice, policy and procedures of the City of Medford, Medford
Municipal Court, and the State of Oregon in violation of the rights to liberty, to own
property, equal protection, the unabridged right to petition the government for redress of
grievances, pursuit of happiness, the quantitative and qualitative aspects of the right to life,
the right to due process of law, the right to travel and the right to operate a motor vehicle
for business and pleasure, but not by way of limitation

229 The change was part of the conspiracy in deprivation of Braze's rights pursuant to
the common law and was done as part of the conspiracy with the City of Medford,
Medford Municipal Court, and the State of Oregon constituting common law trespass
against Braze's right to liberty, equal protection, the unabridged right to petition the
government for redress of grievances, pursuit of happiness, the quantitative and qualitative
aspects of the right to life, the right to due process of law, the right to travel and the right
to operate a motor vehicle for business and pleasure, but not by way of limitation.

230 The change was part of the conspiracy constituting deprivation of Braze's
common law rights and was done as part of the conspiracy with the City of Medford,
Medford Municipal Court, and the State of Oregon including Braze's rights as stated in
Title 42, USC section 1985, including the right to liberty, to own property, equal
protection, the unabridged right to petition the government for redress of grievances,
pursuit of happiness, the quantitative and qualitative aspects of the right to life, the right to
due process of law, the right to travel and the right to operate a motor vehicle for business
and pleasure, but not by way of limitation

231 The change was part of the conspiracy causing deprivation of Braze's common law
rights and was done as part of conspiracy with the City of Medford, Medford Municipal
Court, and the State of Oregon against Braze's common law rights as found in the United
States Constitution including the right to liberty, the unabridged right to petition the
government for redress of grievances, pursuit of happiness, the quantitative and qualitative
aspects of the right to life, the right to due process of law, the right to travel and the night
to operate a motor vehicle for business and pleasure, but not by way of limitation.

232 The change was part of the conspiracy causing deprivation of Braze's common law
rights and was done as part of the conspiracy with the City of Medford, Medford
Municipal Court, and the State of Oregon against Braze's common law rights in
pursuance of the United States Constitution, including Stare Decisis, case law , including
the right to liberty, to own property, equal protection, the unabridged right to petition the
government for redress of grievances, pursuit of happiness, the quantitative and
qualitative aspects of the right to life, the right to due process of law, the right to travel
and the right to operate a motor vehicle for business and pleasure, but not by way of
limitation.

COUNT VII
233 +Paragraphs 1 through are incorporated by reference.
234 On or about 6/12/2000 Braze called and filed a telephonic complaint with the

Medford Police Department pursuant to the unlawful actions of Burchfiel and Mak as
stated in this document.
235  Onor about 6/12/2000 Braze called and filed a telephonic complaint with the

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Medford City Hall addressed to the Medford City Mayor pursuant to the unlawful actions
of Burchfiel and Mak as stated in this document.

236  Onor about 6/12/2000 Braze called and filed a telephonic Notice of intent to file a
complaint, motion for temporary restraining order and preliminary injunction with the
Medford Municipal Court.

237 The person believed to be Denise Bostwick, requested that the complaint be
provided in writing.

238 Even though the Federal Rules of Civil Procedure do not require such notice in
writing Braze on 6/14/2000 attempted to deliver such written notice to Denise Bostwick
along with a "REFUSAL FOR FRAUD" stating such of the facts as Braze was aware at the
time and as are included in this document, requiring that a copy be signed that they had
been received.

239 On the advice of a person believed to be City Attorney Ron Doyle, Denise
Bostwick refused to sign that Denise Bostwick had received the signed documents.

240 Braze refused to leave the signed documents without written proof that the
documents had been received.

241 Thereafter Braze attempted to leave further copies of the signed documents with
the Medford Police Department.

242 Employees/agents of the Medford Police Department referred Braze to an office
on the third floor which it was claimed was the appropriate office in which to deliver the
documents. .

243 The office turned out to be the office of the City Attorney and when Braze
attempted to deliver the documents and get proof that they had been delivered the person
believed to be City Attorney Ron Doyle told the secretary not to accept the documents.
244 When Braze attempted to warn the secretary of the secretaries possible liability
pursuant to the United States Code, Title 42, Sections 1986, 1985 and 1983 in failing to
accept the documents the person believed to be City Attorney Ron Doyle claimed Braze
was threatening the secretary and ordered the secretary to call the police.

245 _ Braze left the building.

246 Thereafter on Monday, June 26, 2000 Braze e-mailed unsigned copies of the
Refusal for Fraud and notice of intent to file complaint in Federal Court [which included
the TRO, Preliminary Injunction and complaint information] with the following persons
and agencies; Judge Haberlath: and Jef E. Faw, of the Medford Mun Court; "LINDSAY
BERRYMAN", Medford City Mayor; "CURT BENNETT", "JIM KEY", "SAL
ESQUIVEL", "SKIP KNIGHT", "MATTHEW HART", JOHN MICHAELS", "BILL
MOORE", City Council; "Michael Dyal", City Manager; "Medford Police Department";
"Police Chief Eric Mellgren"; City Attorney "Ron Doyle". Judge Haberlath: and Jef E.
Faw, of the Medford Mun Court; "LINDSAY BERRYMAN", Medford City Mayor;
"CURT BENNETT", "JIM KEY", "SAL ESQUIVFI.", "SKTP KNIGHT", "MATTHEW
HART", JOHN MICHAELS", "BILL MOORE", City Council; "Michael Dyal", City
Manager; "Medford Police Department”; "Police Chief Eric Mellgren"; and City Attorney
"Ron Doyle". never responded to the e-mailed documents.

247 ~All of the defendants stated above were by the e-mailed documents made aware of
the deprivation of Braze's rights and the further deprivation which it was claimed the
court might do.

248 Pursuant to Title 42, USC, section 1986 the defendants stated above were legally
obligated to do whatever they could to prevent the further unlawful actions from being
carried out.

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249 ‘The above stated defendants never made any attempt to contact Braze to
determine what was going on

250 The above defendants failed and refused to take any action to stop the possible
arrest of Braze

251 The above stated defendants have failed and refused to take any action to stop the
possible suspension of Braze's license as evidenced by the extortion letter from "D
Bostwick" of Medford Municipal court, dated July 20, 2000, threatening to have Braze's
license suspended if Braze did not pay an extortion amount of $109.00.

252 The neglect to prevent was done in deprivation of Braze's common law rights
pursuant to Jitle 42, USC section 1986, to liberty, to own property, equal protection, the
unabridged right to petition the government for redress of grievances, pursuit of
happiness, the quantitative and qualitative aspects of the right to life, the right to due
process of law, the right to travel and the right to operate a motor vehicle for business and
pleasure but not by way of limitation,

253 Title 42, USC section 1986, Every individual having knowledge that any of the
wrongs conspired to be done, and mentioned in the preceding section [1985] are about to
be committed, and having power to prevent or aid in preventing the commission of the
same, neglects or refuses so to do, if such wrongful act be committed, shall be liable to
the party injured, or his legal representative, for all damages caused by such wrongful
act, which such individual by reasonable diligence could have prevented, and such
damages may be recovered in an action on the case, and any number of individuals
guilty of such wrongful neglect or refusal may be joined as defendants in the action...

254 The neglect to prevent was done in deprivation of Braze's common Jaw rights as
found within the United States Constitution, of liberty, to own property, equal protection,
the unabridged right to petition the government for redress of grievances, pursuit of
happiness, the quantitative and qualitative aspects of the right to life, the right to due
process of law, the right to travel, the right to operate a motor vehicle for business and
pleasure but not by way of limitation,

255 The neglect to prevent was done in deprivation of Braze's common law rights
found in the laws in pursuit of the United States Constitution including Stare Decisis, case
law, in pursuit of the United States Constitution, pursuant to the right to liberty, to own
property, equal protection, the unabridged right to petition the government for redress of
grievances, pursuit of happiness, the quantitative and qualitative aspects of the right to life,
the right to due process of law, the right to travel and the right to operate a motor vehicle
for business and pleasure, but not by way of limitation,

256 The neglect to prevent was done in deprivation of Braze's common law
rights constituting trespass on Braze's common law rights, including the right to liberty,
equal protection, the unabridged right to petition the government for redress of
grievances, pursuit of happiness, the quantitative and qualitative aspects of the right to life,
to own property, the right to due process of law, the right to travel and the right to
operate a motor vehicle for business and pleasure, but not by way of limitation,

257 The defendants with knowledge that the unlawful acts were about to be done
and acting together in their silence became conspirators in the deprivation of Braze's
rights pursuant to Title 42, USC section 1986.

258 The neglect to prevent was done as part of the conspiracy in deprivation of Braze's
common law rights pursuant to the practice, policy and procedures of the City of
Medford, Medford Municipal Court, and the State of Oregon in violation of the rights to
liberty, to own property, equal protection, the unabridged right to petition the

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government for redress of grievances, pursuit of happiness, the quantitative and qualitative
aspects of the right to life, the right to due process of law, the right to travel and the right
to operate a motor vehicle for business and pleasure, but not by way of limitation

259 The neglect to prevent was done as part of the conspiracy in deprivation of Braze's
common law rights pursuant to the practice, policy and procedures of the City of
Medford, Medford Municipal Court, and the State of Oregon in violation of the right to
liberty, equal protection, the unabridged right to petition the government for redress of
grievances, pursuit of happiness, the quantitative and qualitative aspects of the right to life,
the right to due process of law, the right to travel and the right to operate a motor vehicle
for business and pleasure, but not by way of limitation

260 The neglect to prevent was done as part of the conspiracy in deprivation of Braze's
rights pursuant to the common law and was done as part of the conspiracy with the City of
Medford, Medford Municipal Court, and the State of Oregon constituting common law
trespass against Braze's right to liberty, to own property, the unabridged right to petition
the government for redress of grievances, pursuit of happiness, the quantitative and
qualitative aspects of the right to life, the right to due process of law, the right to travel
and the right to operate a motor vehicle for business and pleasure, but not by way of
limitation

261 The neglect to prevent was done as part of the conspiracy leading to deprivation
of Braze's common law rights and was done as part of the conspiracy with the City of
Medford, Medford Municipal Court, and the State of Oregon against Braze's rights as
found in Title 42, USC section 1985. the right to liberty, the unabridged right to petition
the government for redress of grievances, pursuit of happiness, the quantitative and
qualitative aspects of the right to life, to own property, the right to due process of law,
the right to travel and the right to operate a motor vehicle for business and pleasure, but
not by way of limitation

262 The neglect to prevent was done as part of the conspiracy causing deprivation of
Braze's common law rights and was done as part of conspiracy with the City of Medford,
Medford Municipal Court, and the State of Oregon against Braze's common law rights as
found in the United States Constitution including the right to liberty, to own property, the
unabridged right to petition the government for redress of grievances, pursuit of
happiness, the quantitative and qualitative aspects of the right to life, the right to due
process of law, the right to travel and the right to operate a motor vehicle for business and
pleasure, but not by way of limitation

263 The neglect to prevent was done as part of the conspiracy causing deprivation of
Braze's common law rights and was done as part of the conspiracy with the City of
Medford, Medford Municipal Court, and the State of Oregon against Braze's common
law rights in pursuance of the United States Constitution, including Stare Decisis, case
law , including the right to liberty, to own property, the unabridged right to petition the
government for redress of grievances, pursuit of happiness, the quantitative and
qualitative aspects of the right to life, the right to due process of law, the right to travel
and the right to operate a motor vehicle for business and pleasure, but not by way of
limitation.

264 Asa direct and proximate result of other legal obligations and necessity to use
Braze's eyes sparingly to ensure continued ability to see, Braze has been unable to finish
the documents before this time.

COUNT IX

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265 Paragraphs 1 through are incorporated by reference.

266 Onor about 7/23/2000 Braze received an extortion notice from "D Bostwick"
"Deputy Court Clerk" "Medford Municipal Court" [Exhibit D, included by reference]
stating in pertinent part: "FRANK EUGENE BRAZE" [FRAUD] "RE: DOCKET 00B06410"

“OPERATION WITHOUT REQUIRED LIGHTING" [FRAUD] ..."YOU HAVE FAILED TO
APPEAR ON THE ABOVE CHARGE PRESENTLY PENDING AGAINST YOU IN MEDFORD

MUNICIPAL COURT. [FRAUD] YOU HAVE BEEN FOUND GUILTY BY DEFAULT IN
ACCORDANCE WITH ORS 153.102." "TO AVOID A REQUEST FOR SUSPENSION OF YOUR
LICENSE OR FURTHER COLLECTION ACTION, THE FINE OF $109.00 [EXTORTION] MUST
BE PAID NO LATER THAN 30 DAYS FROM THE DATE OF THIS LETTER. [FRAUD AND
EXTORTION. |

267 ~_Braze's legal name is Frank Eugene Braze specifically not "FRANK EUGENE
BRAZE"

268 The charge of "OPERATION WITHOUT REQUIRED LIGHTING" was changed
from "Operating w\out Required lights (Brake\ Tail) in the "OREGON UNIFORM
CITATION AND COMPLAINT" [Exhibit A, included by reference] to OPERATION WITHOUT
REQUIRED LIGHTING" in the "TRIAL NOTICE" [Exhibit C, included by reference] by DB,
believed to be "Denise Bostwick", dba "D Bostwick" and "DB".

269 If Braze has been found guilty by default the charges cannot still be pending.

270 The "TRIAL NOTICE" states in pertinent part: "FAILURE TO APPEAR may result in a
warrant for your arrest and/ or a request for suspension of your driving privileges. If you
are charged with a violation and fail to appear, you will be found guilty of the charge
pursuant to ORS 153. 102 and a money judgment will be entered in the amount of the

base fine listed on your citation." [Exhibit C, included by reference] [emphasis

added]

271 The "OREGON UNIFORM CITATION AND COMPLAINT" [Exhibit A, included by
reference] has three [3] places for listing a base fine, listed as 1. BASE FINE __, 2. BASE
FINE __, and 3. BASE FINE

272 There is no base fine listed in any one of the 3 opportunities for listing a base fine
on the "citation", therefore pursuant to the "TRIAL NOTICE" there is no base fine and the
amount which "will" be entered is no amount.

273 The "TRIAL NOTICE" [Exhibit C, included by reference] states in pertinent part:
SECURITY IN THE AMOUNT OF $_©__ MUST BE POSTED BY

274 The "OREGON UNIFORM CITATION AND COMPLAINT" [Exhibit A, included by
reference] states in pertinent part: "WARNING" 1. IF YOU FAIL TO FOLLOW THESE
INSTRUCTIONS, THE COURT MAY ISSUE A WARRANT FOR YOUR ARREST and/or, for
traffic offenses, may order your license suspended. [ some emphasis added]

275 2. For violations, if you do not pay the full base fine in advance and do not appear,
the court, without further hearing, may enter a conviction and a judgment against you for
more than the base fine and up to the maximum penalty allowed by law for the charged
offense(s) including the maximum fines, assessments, restitution and other costs (which
may be substantially more than the base fine).

276 May under the law is permissive, Will and Shall are mandatory, May not, will
not and shall not are prohibitive.

277 Pursuant to the "TRIAL NOTICE" [Exhibit C, included by reference] "a money

judgment will be entered in the amount of the base fine listed on your citation."
278 There is no base fine listed, therefore no money judgment can lawfully be

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entered.

279 Pursuant to the "OREGON UNIFORM CITATION AND COMPLAINT" [Exhibit A,
included by reference] ..."if you do not pay the full base fine in advance and do not
appear, the court, without further hearing, may enter a conviction and a judgment against
you for more than the base fine and up to the maximum penalty allowed by law"...

280 Will takes precedent over may and since there is no base fine listed which will
be assessed, to assess a fine of $109.00 constitutes extortion.

281 Extortion: The obtaining of property from another induced by actual or
threatened force, or fear, or under color of official right. Ref. 18 U.S.C_A. 87let seq.,
I9S1.

282. EXTORTIO - [LEGAL] -, Extortion is a crime when, by color of office any person
[or individual] extorts that which is not due, or more than is due, or before the time
when it is due. [see fees/Ref.- U.S.C.A. 18 sec, 1621 5542d a, [emphasis added]

283 The fraudulent extortion notice was sent in deprivation of Braze's common law
rights as found within the United States Constitution, of liberty, to own property, equal
protection, the unabridged right to petition the government for redress of grievances,
pursuit of happiness, the quantitative and qualitative aspects of the right to life, the right to
due process of law, the right to travel, the right to operate a motor vehicle for business
and pleasure but not by way of limitation,

284 The fraudulent extortion notice was sent in deprivation of Braze's common law
rights pursuant to Title 42, USC section 1983, to liberty, to own property, equal
protection, the unabridged right to petition the government for redress of grievances,
pursuit of happiness, the quantitative and qualitative aspects of the right to life, the right to
due process of law, the right to travel and the right to operate a motor vehicle for business
and pleasure but not by way of limitation,

285 The fraudulent extortion notice was sent in deprivation of Braze's common law
rights found in the laws in pursuit of the United States Constitution including Stare
Decisis, case law, in pursuit of the United States Constitution, pursuant to the right to
liberty, to own property, equal protection, the unabridged right to petition the
government for redress of grievances, pursuit of happiness, the quantitative and qualitative
aspects of the right to life, the right to due process of law, the right to travel and the right
to operate a motor vehicle for business and pleasure, but not by way of limitation,

286 = The fraudulent extortion notice was sent in deprivation of Braze's common law
rights constituting trespass on Braze's common law rights, including the right to liberty,
to own property, equal protection, the unabridged right to petition the government for
redress of grievances, pursuit of happiness, the quantitative and qualitative aspects of the
right to life, the right to due process of law, the right to travel and the right to operate a
motor vehicle for business and pleasure, but not by way of limitation,

287 The fraudulent extortion notice was part of the conspiracy in deprivation of
Braze's common law rights pursuant to the practice, policy and procedures of the City of
Medford, Medford Municipal Court, and the State of Oregon in violation of the rights to
liberty, to own property, equal protection, the unabridged right to petition the
government for redress of grievances, pursuit of happiness, the quantitative and qualitative
aspects of the right to life, the right to due process of law, the right to travel and the right
to operate a motor vehicle for business and pleasure, but not by way of limitation

288 The fraudulent extortion notice was part of the conspiracy in deprivation of
Braze's rights pursuant to the common law and was done as part of the conspiracy with

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the City of Medford, Medford Municipal Court, and the State of Oregon constituting
common law trespass against Braze's right to liberty, to own property, equal protection,
the unabridged right to petition the government for redress of grievances, pursuit of
happiness, the quantitative and qualitative aspects of the right to life, the right to due
process of law, the right to travel and the right

289 The fraudulent extortion notice was part of the conspiracy constituting
deprivation of Braze's common law rights and was done as part of the conspiracy with the
City of Medford, Medford Municipal Court, and the State of Oregon including Braze's
rights as stated in Title 42, USC section 1985, including the right to liberty, to own
property, equal protection, the unabridged right to petition the government for redress of
grievances, pursuit of happiness, the quantitative and qualitative aspects of the right to life,
the right to due process of law, the right to travel and the right to operate a motor vehicle
for business and pleasure, but not by way of limitation

290 The fraudulent extortion notice was part of the conspiracy causing deprivation of
Braze's common law rights and was done as part of conspiracy with the City of Medford,
Medford Municipal Court, and the State of Oregon against Braze's common law rights as
found in the United States Constitution including the right to liberty, to own property, the
unabridged right to petition the government for redress of grievances, pursuit of
happiness, the quantitative and qualitative aspects of the right to life, the right to due
process of law, the right to travel and the right to operate a motor vehicle for business and
pleasure, but not by way of limitation

291 =‘ The fraudulent extortion notice was part of the conspiracy causing deprivation of
Braze's common law rights and was done as part of the conspiracy with the City of
Medford, Medford Municipal Court, and the State of Oregon against Braze's common
law rights in pursuance of the United States Constitution, including Stare Decisis, case
law , including the right to liberty, to own property, equal protection, the unabridged right
to petition the government for redress of grievances, pursuit of happiness, the quantitative
and qualitative aspects of the right to life, the right to due process of law, the right to
travel and the right to operate a motor vehicle for business and pleasure, but not by way
of limitation.

292 The defendants, and each of them have in a willful and deliberate manner conspired
in the deprivation of Braze's rights as stated within this complaint.

VERIFICATION

I declare under penalty of perjury that I have read the aforestated complaint and all
the matters stated therein are true as of my own knowledge except as to those matters
which are stated on the basis of information and belief and as to those matters, I believe
them to be true.

PRAYER FOR RELIEF
293 WHEREFORE, Plaintiff requests that this court grant the following relief:
294 [a] grant the temporary restrain order filed with this complaint, declaration and
order to show cause restraining the Medford Municipal court from taking any action
whatsoever to

295 [1] Have Braze arrested for refusing to attend the Medford Municipal
Kangaroo court proceedings

296 [2] Have Braze's drivers license suspended for refusing to attend the
Medford Municipal Kangaroo court proceedings.

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[3] Continue the efforts to extort the $109.00 plus 25% collection fee.
[b] Grant preliminary and thereafter permanent injunctive relief
[c] Grant the right to amend this complaint as more evidence becomes known.

[d] Grant Plaintiffs right to a United States constitution, VII amendment, common
law trial [jury trier of both law and fact]

fe] Honor its oath of office to support the United States Constitution as the
Supreme law of the Land along with the Laws in Pursuance.

WHEREFORE, Plaintiff requests that the Jury grant the following relief:

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[a] against the defendants, and each of them $25,000,000.00 in lawful United
States Gold [not gold colored] coin for deprivation of :
[1] Braze's, common law Rights,

[2] Braze's common law Constitutional Rights,

[3] Braze's common law rights pursuant to the laws in pursuit of the United States
Constitution.

[4] Braze's common law rights pursuant to United States Code, Title 42, sections
1986,1985 and 1983.

[b] against the defendants, and each of them $75,000,000.00 in lawful United
States Gold [not gold colored] coin as exemplary damages to hold the defendants
up as an example for deprivation of :

[1] Braze's, common law Rights,

[2] Braze's common law Constitutional Rights,

[3] Braze's common law rights pursuant to the laws in pursuit of the United
States Constitution.

[4] Braze's common law rights pursuant to United States Code, Title 42,
sections 1986,1985 and 1983.

[c] against the defendants, and each of them $75,000,000.00 in lawful United
States Gold [not gold colored] coin as punitive damages in order to punish the
defendants for deprivation of :

[1] Braze's, common law Rights,
[2] Braze's common law Constitutional Rights,

[3] Braze's common law rights pursuant to the laws in pursuit of the United
States Constitution.
[4] Braze's common law rights pursuant to United States Code, Title

42, sections 1986,1985 and 1983.

Executed this_/ ©, day of Seg , 2000 in Jackson County, State of
Oregon by: _

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Frank E. Braze

Complaint / Motion
 

 

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Case 6

 

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Case 6

Exh Lit B

A COMPLAINT ON THIS CITATION WILL BE FILED AGAINST YOU !IN THE COURT INDICATED ON
THE FRONT OF THIS SUMMONS.
READ CAREFULLY
if the front of this ticket shows you are charged with a:
A. CRIME, YOU MUST APPEAR at the time and place set by this surwmons.
B. VIOLATION, You must dc one (and only one) of the violation options !isted below.

VIOLATION OPTIONS: TO RESPOND TO VIOLATION(S) CHARGED ON THIS SUMMONS, YOUR ‘
OPTIONS ARE:

 

 

OPTION 1 PERSONALLY APPEAR at the court at the appearance time indicated to enter a piea
OR, before that time, to orally request a trial. You have a right to trial, and if you plead not i
guilty when you appear. the court will set a date and time for trial

 

OPTION 2 ENTER A PLEA OF GUILTY OR NO CONTEST by written appearance. To choose this
option do all the following before the time this summons requires you to appear.

 

 

1. Check AND initial one (and only one) of the foilowing pleas:
L) | Plead GUILTY Unitial) _] | Plead NO CONTEST.

 

 

(initial)
2. Sign/daie here: signature), ____—— ss (date), AND

3. Deliver to the court this summons (see notice “4" below} and attach a written statement explaining or in
mitigation of the violation(s) charged ‘if your plea is GUILTY. the written statement is optional). AND

4. With this summons, send or take the court a check or money order for the full base fine amount as
shown on this summons ($ _ indicate amount enclosed).

 

IMPORTANT: Choosing this option makes a written appearance and waives your right to trial. if you plead
GUILTY, you agree to the penalties for your offense. If you plead NO CONTEST, you consent to any court
judgement bre“ se vor niaa and statement and the officers report. if 4 finds you guilty. the ccurt may keep all

‘crineco Citation can be dismissed by MEDFORD MUNICIPAL,”
rptions «-»-s COURT 41 W. 8TII, MEDFORD, ORE., 770-4500 |

if the instructions listed below are followed:
1: You correct the violation and a Medford P

 

 

 

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: sas , iticer signs below when corrected.
: Bring the citation to the Munici
Ponts pal Court h
lime and p BY YOUR COURT APPEARANCE DATE. en
in the at Found to have been corrected on .
L_wrresron Medford Police Dept. Officer: ond |
" ee
MINIMUM CLEARANCE & DRIVING UNINSURED
arent ARE NEVER DISMISSED BY TIE CLERKS Wy.
It is possible that you may nut quamy ws war uy eee - “
\_cases, you must comply with one of the other options <
NOTICE

1. In any case. the court, AFTER NOTICE, MAY REQJIRE YOU TO APPEAR FOR A HEARING.

2. For traffic offenses. this record will be sent to the Licensing Authority of this state (or where you received your
license to drive} to decide if a license suspension is appropriate.

3. For violations, if you are going to have an attorney represent you, you must notify the court and the
prosecutor's office in advance.

4. YOU MAY MAIL WRITTEN APPEARANCES ito the court under Violation Options 2 or 3 above, but the mail
must arrive at the court sefore your appearance date shown on this summons.
WARNING
1. IF YOU FAIL TO FOLLOW THESE INSTRUCTIONS, THE COURT MAY ISSUE A WARRANT FOR YOUR
ARREST and/or, for traffic offenses, may order your license suspended.

 

2. For violations. if you de not pay the full base fine in advance and do not appear, the coun, without further
hearing, may enter a canviction and a judgment against you for more than the base fine and up to the
maximum penaity allowed by law for the chargec offense(s) including the maximum fines, assessments,
restitution and other costs (which may be substantially more than the base ‘ine).

f MAIL CORRESPONDENCE OR WRITTEN APPEARANCE AND MAKE CHECKS PAYABLE TO: /\

 

 

 

 
 

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TRIAL NOTICE
MEDFORD MUNICIPAL COURT
411 W. 8TH ST, MEDFORD OR 97501
(541) 774-2040
CITY OF MEDFORD
vs.

FRANK EUGENE BRAZE

Charge: OPERATION WITHOUT REQUIRED LIGHTING

‘Docket No. 00B06410 Offense Date: 5/12/2000
MPD Case Number: Citation Number: 55601

THE ABOVE ENTITLED MATTER IS SCHEDULED FOR TRIAL ON:
*e*x** WEDNESDAY, 07/19/2000 at 03:00 P.M. **¥#**

IF YOU HAVE AN ATTORNEY REPRESENT YOU, the court must be
“notified in writing no later than two weeks prior to the scheduled
court date.

WE WILL SUBPOENA WITNESSES if you are charged with a crime. You must
submit a written request to the clerk two weeks prior to the
scheduled trial date that includes the witnesses names and addresses.

_IF A TRIAL IS TO BE RESET, your written request must be approved by
the judge one week prior to the scheduled trial date.

FAILURE TO APPEAR may result in a warrant for your arrest and/or a
request for suspension of your driving privileges. If you are
charged with a violation and fail to appear, you will be found guilty
of the charge pursuant to ORS 153.102 and a money judgment will be
entered in the amount of the base fine listed on your citation.

 

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MEDFORD MUNICIPAL COURT
411 WEST 8TH ST.
MEDFORD, OR 97501
(541) 774-2040

July 20, 2000

FRANK EUGENE BRAZE
5945 CASTLE TERRACE
CENTRAL POINT, OR 97502-0000

RE: DOCKET 00B06410
OPERATION WITHOUT REQUIRED LIGHTING

DEAR MR. BRAZE,

THIS LETTER IS TO ADVISE THAT YOU HAVE FAILED TO APPEAR ON
THE ABOVE CHARGE PRESENTLY PENDING AGAINST YOU IN MEDFORD
MUNICIPAL COURT. YOU HAVE BEEN FOUND GUILTY BY DEFAULT IN
ACCORDANCE WITH O.R.S. 153.102.

TO AVOID A REQUEST FOR SUSPENSION OF YOUR LICENSE OR FURTHER
COLLECTION ACTION, THE FINE OF $109.00 MUST BE PAID NO LATER
THAN 30 DAYS FROM THE DATE OF THIS LETTER. THE ACCOUNT IS
SUBJECT TO A 25% FEE IF COLLECTION ACTION IS NECESSARY.

IF YOU WOULD LIKE TO PAY THIS FINE BY VISA OR MASTER CHARGE,

PLEASE CALL OUR OFFICE AT (541)774-2040. THANK YOU FOR YOUR
PROMPT ATTENTION TO THIS MATTER.

Sincerely,

Deputy Court Clerk
Medford Municipal Court

Exhibit DO
